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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

TODD COLE,                                           )
                                                     )
     PLAINTIFF,                                      )
                                                     )
v.                                                   )   Civil Action No.
                                                     )
CITY OF ST. LOUIS,                                   )
                                                     )   JURY TRIAL DEMANDED
     DEFENDANT.                                      )

                         NOTICE OF REMOVAL TO FEDERAL COURT

        Defendant City of St. Louis (“Defendant”) notifies this Court of the removal of Cole v.
City of St. Louis, et al., Cause No. 1822-CC11566, from the 22nd Judicial Circuit Court of
Missouri, to the U.S. District Court for the Eastern District of Missouri. As grounds for removal,
Defendant states:
1.      On November 5, 2018, Plaintiff, Todd Cole (“Plaintiff”) filed his initial petition, against
Defendant in the 22nd Judicial Circuit Court of Missouri, in Cole v. City of St. Louis, et al.,
Cause No. 1822-CC11566.
2.      The initial petition only included claims against the City for violations of the Missouri
Human Rights Act.1
3.      On March 5, 2019, the court granted Plaintiff’s motion for leave to file an amended
petition. (Exhibit 1).
4.      Plaintiff filed that amended petition on March 19, 2019. (Exhibit 2)2
5.      The amended petition raises for the first time claims under the Americans with
Disabilities Act, 42 U.S.C. § 12101, et seq., and Age Discrimination in Employment Act, 29
U.S.C. § 623, et seq.
6.      The City received electronic service of that amended petition on March 19, 2019.
1
  The initial complaint also asserted claims under Mo. Rev. Stat. §§ 536.100-536.400, but those claims
were severed on November 5, 2018, and the claims under the Missouri Human Rights Act became a
separate action. The non-MHRA claims continued as Case Number 1822-CC11004, which was
voluntarily dismiss on March 5, 2019.
2
  The Plaintiff filed the Amended Complaint on March 19, 2019 through the Case.net electronic filing
system. As of the date this removal has been filed, such a filing has not yet appeared on the docket sheet,
so Defendant is attaching the electronic notice of filing that was received on March 19, 2019.


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7.       The amended petition only names the City of St. Louis as a defendant.
8.       Because of the federal claims in the petition are those over which the United States
District Court has original jurisdiction under 28 U.S.C. § 1331, removal is proper.
9.       Pursuant to Local Rule 2.03, a copy of all process, pleadings, orders and other documents
on file in state court are attached as Exhibit 1.
10.      Venue is proper in this District under 28 U.S.C. § 1441(a), because this District and
Division embrace the place in which the removed action has been pending.
11.      City concurrently submits the filing fee in the amount of $400.00 and the proof of filing
the notice of removal with the Clerk and State court.
12.      The Civil Cover Sheet is attached as Exhibit 3.
13.      The Original Filing Form is attached as Exhibit 4.
14.      The Notice of Removal to the Circuit Court of the City of St. Louis is attached as Ex. 5.
15.      By filing this notice, the City admits to none of the allegations made by Plaintiff, nor
does it waive the right to assert any and all defenses.
         WHEREFORE, City petitions this Court for removal of Cole v. City of St. Louis, Cause
No. 1822-CC11566, from the 22nd Judicial Circuit Court of Missouri, to this Court for all further
proceedings.

                                                JULIAN BUSH,
                                                CITY COUNSELOR

                                                /s/ Brandon Laird
                                                Brandon Laird
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                                                        Attorney for Defendant




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on March 29, 2019 the foregoing was filed electronically with the

Clerk of Court to be served by operation of the Court’s electronic filing system to all attorneys of

record.

                                              /s/ Brandon Laird
                                              Brandon Laird
                                              Assistant City Counselor




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